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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                    TYLER DIVISION

  TENDLER CELLULAR OF TEXAS,                      §
  LLC                                             §
                                                  §
  v.                                              §               NO. 6:09-cv-115
                                                  §
  AT&T MOBILITY, LLC, et al.                      §


                                        FINAL JUDGMENT

         Pursuant to the Orders dismissing the claims of all parties, the Court hereby enters Final

  Judgment. The dismissed Defendants in this case were: Sprint Nextel Corporation (Doc. No. 38);

  United States Cellular Corporation (Doc. No. 148); T-Mobile USA, Inc. (Doc. No. 151); AT&T

  Mobility, LLC (Doc. No. 168); Sprint Spectrum LP (Doc. No. 176); Cellco Partnership d/b/a/

  Verizon Wireless; and Nextel Operations, Inc.

         It is therefore ORDERED, ADJUDGED and DECREED that the parties take nothing and

  that all pending motions are DENIED AS MOOT. All costs are to be borne by the party that

  incurred them.

         It is further ORDERED, ADJUDGED and DECREED that all claims, counterclaims, and

  third-party claims in the instant suit be DISMISSED in their entirety.

         The Clerk of the Court is directed to close this case.


                So ORDERED and SIGNED this 10th day of August, 2010.




                                       __________________________________
                                       LEONARD DAVIS
                                       UNITED STATES DISTRICT JUDGE
